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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                 Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,

               Plaintiff,

v.

ROGER J. STONE, JR.,

            Defendant.
______________________________/

                            MOTION FOR PERMISSION TO TRAVEL

       Defendant, Roger J. Stone, Jr., files this Motion for Permission to Travel to the United

States District Court for the Western District of Tennessee from June 6, 2019 to June 8, 2019 and

to the United States District Court for the Northern District of Illinois from July 18, 2019 to July

22, 2019, for business opportunities.

       Counsel has communicated with Mr. Stone’s Pretrial Services Officer who has stated

Pretrial Services has no objection to the filing of this motion and requested their office be kept

advised of the Court’s ruling. Mr. Stone will provide Pretrial Services with the requested

documentation and contact his Officer upon his return. The Government has been has also been

contacted and has no objection to the relief sought.

        Mr. Stone respectfully requests that this Court grant this motion for permission to travel

and allow Mr. Stone to travel to the the district courts during the dates outlined above.




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                                        Respectfully submitted,

                                       By: /s/

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                                CERTIFICATE OF SERVICE



       I HEREBY CERTIFY that on May 16, 2019, I electronically filed the foregoing with the

Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day on all

counsel of record or pro se parties, via transmission of Notices of Electronic Filing generated by

CM/ECF.

                                              BUSCHEL GIBBONS, P.A.

                                              ___/s/ Robert Buschel_______________
                                                     Robert C. Buschel




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